EXHIBIT

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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

CIVIL ACTION NO. 1:17-cv-00854-TDS-LPA

REBECCA KOVALICH and SUZANNE
NAGELSKI,

Plaintiffs,
vs.
PREFERRED PAIN MANAGEMENT & SPINE
CARE, P.A., DR. DAVID SPIVEY,
individually, and SHERRY SPIVEY,
individually,

Defendants.

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DEPOSITION

OF

VICKI SWICEGOOD

At Winston-Salem, North Carolina

Friday, August 24, 2018

REPORTER: ELAINE F. HAYES
Notary Public

REED & ASSOCIATES

2401 Whirlaway Court

Matthews, NC 28105
980-339-3575

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So I said, "Okay, that'll be fine."

So when you first started at PPM, did you have a job
title?

If I did, I never knew. I mean, people would refer
to me as the office manager. But officially, if it
was that, I don't know.

Okay. And what all did you do in the beginning?
Whatever was required. When I walked in, the desk
was full. There was no HR files to speak of. I just
sort of took -- I looked around to see where they
were and what needed to be done, and just whatever I
saw that came up, whatever Dr. Spivey might have
asked. If he had a particular request, I would do
that. It was one of those things that anything that
needed to be done that somebody else didn't do.

Got you. Did it stay that way the whole time you
were there? In other words, that sort of what you
just described, was that your whole tenure there or
did that change at some point?

By the time I was there, I was doing HR, I was

doing -- I would help with the coding. If there was
a problem on the front desk, Annette and I would work
out where the problem was, and one of us would handle
how to retrain somebody to be more efficient. If

there was a problem -- you'd be surprised how many

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clinical staff. The final okay would always be
Dr. Spivey's okay for the clinical staff. But you
may have found three or four people in that room
interviewing the clinical staff.

As far as the support staff, a lot of times I
would just interview those and go ahead and hire
them.

And you made those decisions?

I would. A lot of times I would go to Suzanne, and I
would discuss what their salary -- we would discuss
salary and positions and what was needed. But I
would defer a lot of my questions to Suzanne on the
support side.

Okay. Would Dr. Spivey ultimately have to sign off
on those hires?

He did on the clinical staff, on the clinical side.
What about on the support side?

I don't recall.

What about Mrs. Spivey, was she involved in
interviewing for clinical staff?

For a long time, no. It was when we lost our -- we
only had three nurses. And when we lost two of them
in the same Friday afternoon, and they weren't coming
back on Monday, Sherry showed up.

Roughly when did that happen?

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Oh, gosh, yes.

Why do you say that?

I mean, she kept the lab going. And if there was a
problem, that was one of those areas you didn't have
to worry about because it was going to be taken care
of.

And when it comes to running the lab, is that
somewhere where Rebecca excels?

Oh, I would think so.

And you would have considered her an asset to PPM?
Fantastic.

The same question, but for Suzanne Nagelski. Do you
remember how you first met her?

I met Suzanne as a little girl.

So you've known her for a long time?

It seems like somewhere -- I couldn't tell you when I
met her, but she was a little girl.

Did you ever have any issues with her while you
worked at PPM?

I doubt it.

Were you aware of other employees that had issues
with Suzanne while you were at PPM?

The only issue that ever came up with Suzanne was
Annette and Suzanne may have had some kind of

disagreement over the billing. And I'm not -- I

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didn't ask enough questions because that was between
Annette and Suzanne. But Annette did say something
about, "I'm not sure what it is that's going on or
what I'm supposed to do, or what I'm -- I'm just not
sure."

And that was -- if there was a problem there,
that was the most I ever heard.
Okay. Did Suzanne regularly work remotely?
Yeah.
Did other employees work remotely, too?
No, not remotely. I took work home, but --
Well, not just you, but other employees who worked
there?
Not that I am aware.
Well, even though she worked remotely, did you --
well, strike that. You described her as your
supervisor, right?
I would go to her, directly to her.
Were there ever any problems created by her not
physically being there?
No, because I had immediate access.
It was very easy to get ahold of her?
I always got ahold of her. I never -- there was
never a time that the call was not answered. I

usually got a response to a question within a very

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who I was.

Gosh, there was just so much laying on the
desk. I couldn't tell you now. I just remember
there was a lot of things that needed to be handled.
So when you got there, from what you can remember at
PPM, there were maybe three to four personnel files.
Uh-huh.

Is that right?

Uh-huh.

Is that a yes?

Yes, yes.

And at that point, did you have employees that were
there at PPM that had no personnel file?

What I found was like an application, applications.
There was a drawer, three or four files with a name
on them. But there was a lot of paperwork,
applications, resumes. There was just a drawer. And
so basically, you took everything out of the drawer.

I identified who was working there, made the
files, put the resumes somewhere. I don't know. But
you just cleaned out the drawer to make it something
that you could find. And then started creating their
files.

And can you recall any of the names of the employees

that you created their HR files?

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supervised, total number of employees?

The only supervision I had would be of

those -- direct supervision would have been those
five. Wait. I forgot Greensboro. I actually did
supervise the two on the front desk in Greensboro. I
forgot those. So five, six, seven. And what was
your question?

So I was trying to clarify the total number of
employees that you supervised throughout the two and
a half years.

Five to seven.

That was the total, or at one time you were
supervising five?

These would -- that would be at one time.

At one time?

Yeah.

Can you think of the number of employees that you
supervised during your total two and a half years at
PPM, with people coming in and out, the total number?
The total number? Oh, the total with the ones that
came in? The number of people that -- I would have
no idea.

Would you say it was more than 10 people?

I'd say 10, 11.

And you'd also testified earlier -- you made a

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general statement, "By the time I was there, I was
doing HR." What does that entail, if you can
remember, HR?

HR, I would keep the files. I would interview. I
did reviews, listened to a lot of he said/she said,
"I don't like this," complaints, arguing.

Was it normal for PPM employees to bring their
complaints to you?

A lot of times.

Can you remember any of those complaints?
"So-and-so is not doing -- they're not carrying their
weight."

"Okay. Tell me what it is that they're not
doing, not just that they're not carrying their
weight." That was a big one.

"This person is on her cell phone all the
time. We can't get anything done listening to her be
on the cell phone all the time." Those are the ones
I really recall.

So would you categorize those complaints as typical,
everyday --

Typical.

-- employee complaints to HR?

Uh-huh.

Is that a yes?

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Okay. Back to one of my earlier questions I had
asked you. You testified, "By the time I was there I
was doing HR." And so we just talked a little bit
about some of the counselings that you were involved
ites

Uh-huh.

What about terminations? Were you involved in any
terminations during your time at PPM?

Oh, yeah.

Tell me about that.

There was a problem and we couldn't rectify it or
make things a little bit -- to work out. I do know
that there were some people that I did let go. And
don't ask me today their names. I do not recall
their names. But that did happen.

Can you recall anyone's name that you were involved
in their termination at PPM?

Not at this time.

The terminations that you were involved in while you
were at PPM, would that have included employees
working at the front desk?

Uh-huh.

Yes?

If that was -- if it was necessary. Now, at the

front desk, there was one person, and I could not

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tell you who she was. I can see her sitting there in
the old building. Seem like that was a termination,
but I couldn't tell you why.
So at this point you recall terminating someone that
was at the front desk, but you cannot --
I would have --
-- recall the name?
I would have to have the personnel files to go
through to get that kind of stuff.
Now, for that employee specifically, would you have
documented in their personnel --
Yes.
And I'm just going to say, because it's really tough
for the court --
Oh, yes.
It's tough for the court reporter to dictate what we
are both saying at the same time. So I know some of
my questions are really long, but if you'll just
allow me to get the whole question out before you
answer, I'd appreciate that, because I want to make
sure that, you know, everything that you have to say
is recorded as well.

For any employees that you were involved in
their termination, would you have noted that in their

personnel file?

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Yes.

Do you remember how you would have noted that in
their personnel file?

I think there was -- if I recall, I had some forms,
something about their reviews, and on there it

was -—- there was a place that had something to do
with maybe termination. And I would have used that
form.

How did you get this form?

I don't know if it was one I brought from a previous
office. Was it something Suzanne gave me or was it
already there? I have no idea now.

But you do recall some type of termination --

I did -- I did have a form. I'm sorry.

That's okay. So you do recall having some type of
termination form that you would include in an
employee's personnel file?

Yess

And do you remember if you would cite the reasons for
their termination on the form?

Always.

And you would sign your name on that termination
form?

Yes.

You testified earlier -- Mr. Herrmann had asked you,

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Do you still maintain a friendship with Rebecca

today?

, Yes.

Tell me about that.

Oh, we have dinner usually about once a month or so
together. And occasionally, I have gone to see her
at her place at the Isle of Palms.

And that's a house that Ms. Kovalich owns down at
Isle of Palms?

Uh-huh. Right.

And would you consider yourself still to be friends
to this day?

Yes.

MS. GOFORTH: I'd like to take a short break.

(Recess from 12:16 p.m. to 12:23 p.m.)

16 By Ms. Goforth:

17 Q.

Vicki, just a couple more questions. How did you
come to learn about this lawsuit?

I'm not sure about the very first time I have known
about it. But what I read was in that -- there is a
Triad Magazine. And I think I got two or three calls
about, "Did you see the Triad Magazine?" Or somebody
had called somebody, and somebody else called. And
so it went through several people like that. But

there was an article in this Triad Magazine.

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1 Q. And were you the PPM employee that would reach out to
2 Salem Solutions about hiring or ending a temporary

3 staff employee's placement?

4 A. Most of the time, yeah.

5 MS. GOFORTH: No further questions.

6 (The taking of the foregoing deposition was

7 concluded at 12:31 p.m. on Friday, August 24,

8 2018. Signature was reserved.)

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